      Case 4:22-cv-04284-HSG Document 24 Filed 07/28/22 Page 1 of 2




 1   ROBERT H. PITTMAN #172154
     County Counsel
 2   JOSHUA A. MYERS #250988
     Chief Deputy County Counsel
 3   MATTHEW R. LILLIGREN #246991
     Deputy County Counsel
 4   County of Sonoma
     575 Administration Drive, Room 105A
 5   Santa Rosa, California 95403
     Telephone: (707) 565-2421
 6   Facsimile: (707) 565-2624
     E-mail: joshua.myers@sonoma-county.org
 7   E-mail: matthew.lilligren@sonoma-county.org
 8
     Attorneys for Defendants
 9   COUNTY OF SONOMA
10
                            UNITED STATES DISTRICT COURT
11
                          NORTHERN DISTRICT OF CALIFORNIA
12
13   DENISE MCCLOUD, BRIAN                   Case No. 22-cv-04284-HSG
     BARAN, KRISTOPHER ANDERSON
14   FRANCOIS, MERCEDES JUANITA              DEFENDANT COUNTY OF
     FLORES, TIM RUCKER, WILBERT             SONOMA’S NOTICE OF
15   RAY FIELDS, AND JOHN CLAY               ASSOCIATION OF COUNSEL
16         Plaintiffs,
17   vs.
18   COUNTY OF SONOMA, COUNTY
     ADMINISTRATOR SHERYL
19   BRATTON, SONOMA COUNTY
     REGIONAL PARKS, SONOMA
20   COUNTY REGIONAL PARK
     DIRECTOR BERT WHITAKER,
21   CITY OF SANTA ROSA, CITY OF
     SANTA ROSA MANAGER
22   MARASKESHIA SMITH. DOES 1-
     10
23
           Defendants.
24                                      /
25
26   TO THE CLERK OF THE COURT AND ALL PARTIES HEREIN:
27
28

     ASSOCIATION OF COUNSEL                                         22-cv-04284-HSG
                                             1
      Case 4:22-cv-04284-HSG Document 24 Filed 07/28/22 Page 2 of 2




 1          PLEASE TAKE NOTICE THAT Defendant Sonoma County requests that this Court add
 2   the following person to represent it in this case: Chief Deputy County Counsel JOSHUA A.
 3   MYERS. Please add JOSHUA A. MYERS to the Court’s service list.
 4   Dated: July 28, 2022                       ROBERT H. PITTMAN, County Counsel
 5
                                                By: /s/ Matthew Lilligren
 6                                                    Matthew Lilligren
                                                      Deputy County Counsel
 7                                                    Attorneys for Defendant
 8                                                    COUNTY OF SONOMA

 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ASSOCIATION OF COUNSEL                                                     22-cv-04284-HSG
                                                   2
